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                                                                                              March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED
                                                                              BY TELECONFERENCE
                             -v-
                                                                              20   -CR- 543   (
                                                                                                  GHW

                                                                                                        )(   )
Wayne Morgan                       ,
                                       Defendant(s).
-----------------------------------------------------------------X

            Wayne Morgan
Defendant ______________________________________           hereby voluntarily consents
to participate in the following proceeding via teleconferencing:

___      Initial Appearance/Appointment of Counsel
X
___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



 Wayne Morgan by SDA
_______________________________                                        Ian Marcus Amelkin by SDA
                                                                     _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

 Wayne Morgan by SDA
_____________________________                                          Ian Marcus Amelkin by SDA
                                                                     _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable teleconferencing technology.


 11/2/2020
___________________                                                  _________________________________
Date                                                                 U.S. Magistrate Judge
